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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: ASBESTOS PRODUCTS LIABILITY                                      :            Civil Action No. MDL 875
LITIGATION (NO. VI)                                                     :
___________________________________________________                     :
                                                                        :
This Document Relates to:                                               :
                                                                        :
Howard Durant Rhyne and                                                 :
Frances C. Rhyne, wife,                                                 :           District of South Carolina,
                                                                        :
                           Plaintiffs,                                  :           Civil Action No.___________
                                                                                                     0:09-1512
                                                                        :
                                vs.                                     :
                                                                        :                 COMPLAINT
Aqua-Chem, Inc.                                                         :
    (d/b/a Cleaver-Brooks Division);                                    :
Borg-Warner Morse TEC, Inc.;                                            :
CertainTeed Corporation;                                                :
A.W. Chesterton Company;
                                                                        :
Fluor Daniel, Inc.;
Fluor Daniel Services Corporation;                                      :
General Refractories Company;                                           :
Georgia Pacific Corporation;                                            :
National Service Industries, Inc.;                                      :
Rapid-American Corporation                                              :
    (successor by merger to Glen Alden Corporation,                     :
    Briggs Manufacturing Company, Philip Carey                          :
    Corporation and Philip Carey Manufacturing                          :
    Company);                                                           :
Union Carbide Corporation;                                              :
Viacom, Inc.
    (successor by merger to CBS Corporation f/k/a
                                                                        :
    Westinghouse Electric Corporation),                                 :
                                                                        :
                        Defendants,
________________________________________________


          Plaintiffs hereby adopt and incorporate Plaintiffs' Master Long Form Complaint in Re: Asbestos

  Litigation in the United States District Court for the Eastern District of Pennsylvania, filed as Miscellaneous

  No. 86-0457. Pursuant to the October 8, 2008, Order of Honorable Eduardo C. Robreno, the

  following short-form Complaint is utilized in this asbestos action:
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        1.        Howard Durant Rhyne, The Injured Plaintiff (“plaintiff-worker”) and Frances C. Rhyne,

(“plaintiff-worker’s spouse”). Plaintiff ‘s Address, Social Security Number, and Date of Birth information is

available upon request.

        2.        The Court has jurisdiction of this matter pursuant to the Multidistrict Litigation Order dated

July 29, 1991, Civil Action No. MDL 875. Moreover, the Plaintiffs are citizens of the State of South

Carolina and no defendant is a citizen or has a principal place of business in the State of South Carolina.

Further, the amount in controversy, exclusive of interest and costs, exceeds $100,000.00.

        3.        The Defendants are those companies listed in the caption.

        4.        Plaintiffs hereby incorporate by reference the following counts from the Master Long-Form

Complaint: Counts I, II, III, IV and V.

        5.        Plaintiff-worker's asbestos employment history, including, to the extent possible at this time,

the asbestos products to which deceased plaintiff-worker was exposed is attached hereto as Schedule I.

        6.        Plaintiff-worker was diagnosed with asbestosis by William F. Alleyne, M. D. on
                  September 21, 2006.

        7.        Plaintiffs certify that they have not been a party to any related third-party asbestos litigation.

        8.        Plaintiffs hereby demand a trial by jury on all issues of fact.



                                                     Respectfully submitted,

                                                     WALLACE AND GRAHAM, P.A.

                                                     By:      s/Mona Lisa Wallace
                                                              S.C. Bar No.: 07216
                                                              Attorney for Plaintiff
                                                              WALLACE & GRAHAM, P.A.
                                                              525 North Main Street
                                                              Salisbury, North Carolina 28144
                                                              Tel. No. (704) 633-5244
                                                              Fax: (704) 633-9434
                                                              E-Mail: mwallace@wallacegraham.com




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                                    HOWARD DURANT RHYNE
                                            SCHEDULE I
                                 Plaintiff-Worker Employment History
                                Asbestos Exposure Worksite Information



OCCUPATION:

Pipe Fitter
Father’s Business-Residential Plumber
Naval Gunner

EMPLOYER/WORKSITE:                                                       APPROXIMATE DATES:

Hoechst Celanese – Rock Hill, SC                                              1948 – 1987
Self-Employed Plumber – Rock Hill, SC                                         1947
US Navy – USS Hegira                                                          1942 – 1945

RELATED ASBESTOS LITIGATION:

None

SMOKING HISTORY:

1 ppd. 1941 - 1968

PRODUCTS CONTAINING ASBESTOS:

Raw Asbestos Fiber, Pipe Covering, Block, Cements, Gaskets, Refractory Materials, Boilers, Joint
Compounds, Wall Board, and other asbestos containing materials.

DEPENDENTS:

Frances C. Rhyne, wife
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         IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                         DEFENDANTS LIST




Aqua-Chem, Inc., d/b/a Cleaver-Brooks Division              Georgia Pacific Corporation
7800 North 113th Street                                     CT Corporation System
Milwaukee, WI 53224-3136                                    75 Beattie Place
                                                            Greenville, SC 29601
Borg-Warner Morse TEC, Inc.
3850 Hamlin Road                                            National Service Industries, Inc.
Auburn Hills, MI 48326                                      Corporation Service Company
                                                            327 Hillsborough Street
CertainTeed Corporation                                     Raleigh, NC 27603
CT Corporation System
225 Hillsborough Street                                     Rapid-American Corporation
Raleigh, NC 27603                                           Corporation Service Company
                                                            2711 Centerville Road, Ste. 400
A.W. Chesterton Company                                     Wilmington, DE 19808-1645
PO Box 4004
Woburn, WA 01888-4004                                       Union Carbide Corporation.
                                                            CT Corporation System
Fluor Daniel, Inc.                                          225 Hillsborough Street
Corporation Service Company                                 Raleigh, NC 27603
327 Hillsborough Street
Raleigh, NC 27603                                           Viacom, Inc.
                                                            Corporation Service Company
Fluor Daniel Services Corporation                           2711 Centerville Road, Ste. 400
Corporation Service Company                                 Wilmington, DE 19808-1645
327 Hillsborough Street
Raleigh, NC 27603

General Refractories Company
225 City Avenue, Suite 114
Bala Cynwyd, PA 19004
